        Case 2:16-cr-00130-MSD-LRL        Document 393         Filed 03/20/18   Page 1 of 1 PageID#
                                                3631



                       UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF VIRGINIA
                                          Norfolk       DIVISION

                                     Tuesdayf    March 20,          2018

MINUTES OF PROCEEDINGS IN                     Open Court
PRESENT:       THE HONORABLE        Mark S. Davis,      District Judge
Courtroom Deputy Clerk; Valerie A. Ward
Law Clerk:       Matthew Carr                                               Reporter: Paul McManus
 Set:   9:30    a.m.                 Started:    9:30   a.m.               Ended:     6:45 p.m.

 Case No.      2:16crl30


                           United States of America

                            V.


                           Antonio Simmons, Nathaniel Tyree Mitchell

                           And Malek Lassiter




 All jurors, counsel and parties present pursuant to adjournment on March 19, 2018
 All defendants present in custody.

 Matter came on for continuation of trial with jury.

 Jury received Courtis charge.

 Closing argument of Government heard.

 Jury excused until 9:30 a.m. on 3/21/18
 Defendants remanded to custody of USM.

 Court adjourned.




 (Lunch:       1;25 p.m. -       2:20 p.m.)
